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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION


EARL PARRIS, JR.,

      Plaintiff,

v.                                            CIVIL ACTION NO.
                                              4:21-cv-040-TWT

3M COMPANY, et al.,

      Defendants,


______________________________




     STIPULATED JOINT PROTOCOL GOVERNING DISCOVERY OF
     DOCUMENTS AND ELECTRONICALLY STORED INFORMATION

      Plaintiff Earl Parris, Jr. (“Plaintiff”), Intervenor-Plaintiff City of Summerville

(“Intervenor”), Defendant 3M Company (“3M”), Defendant Daikin America, Inc.

(“Daikin”), Defendant Huntsman International, LLC (“Huntsman”), Defendant

Pulcra Chemicals, LLC (“Pulcra”), Defendant Mount Vernon Mills, Inc. (“MVM”),

Defendant Town of Trion, Georgia (“Town of Trion”) Defendant/Cross-claimant,

Ryan Dejuan Jarrett (“Jarrett”) (collectively, “Defendants”) (altogether, “Parties”)

by and through their attorneys, have stipulated and agreed to the entry of a Joint
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Protocol Governing Discovery of Documents and ESI (the “Protocol”) governing

the discovery, collection, and production of documents, including electronically

stored information (“ESI”), in response to discovery requests (“Discoverable

Information”) in the above-captioned litigation (the “Action”).

      The Parties will engage in discovery proceedings in the Action, and their

counsel have engaged in substantive discussions regarding the discovery of

documents and ESI. The Parties mutually seek to reduce the time, expense, and other

burdens of discovery of hardcopy documents and ESI, and to better define the scope

of their obligation with respect to producing such information and materials. This

Protocol does not prevent the parties from negotiating additional agreements

regarding discovery as may be necessary in the course of this Action. This Protocol

is not intended to expand any document storage, preservation, or production

requirement beyond the common law or the Federal Rules of Civil Procedure or to

limit any protections otherwise available to a Party under the common law, the

Federal Rules of Civil Procedure, or the Federal Rules of Evidence.

      This Protocol is intended to supplement the Federal Rules of Civil Procedure

and the Local Rules of the Northern District of Georgia. This Protocol is intended

to promote a “just, speedy, and inexpensive determination” of this action. Fed. R.

Civ. P. 1.




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      The Court, having reviewed the agreement and stipulations of the Parties,

finds that good cause supports the entry of this Protocol, and that justice so requires.

      Accordingly, pursuant to Rule 26 of the Federal Rules of Civil Procedure, it

is hereby ORDERED that all discovery, collection, and production of documents or

ESI in this action shall be subject to the terms and provisions set forth below.

I.    GENERAL PROVISIONS

      1.     Discoverability and Admissibility. Nothing in this Protocol shall be

construed to affect the admissibility of Discoverable Information. All objections to

the discoverability or admissibility are preserved and may be asserted at any time.

      2.     Cooperation and Proportionality.         The Parties agree to follow the

Federal Rules of Civil Procedure and applicable federal law in conducting discovery

in this Action. This Protocol is not intended to expand the Parties’ obligations under

Rules 1, 26, and 34.

      3.     Meet and Confer. The Parties agree to meet and confer regarding any

disagreements that arise as a result of the implementation of this Protocol or other

discovery-related matters. To the extent a Party that is producing Discoverable

Information (a “Producing Party”) reasonably expects production of specific paper

documents or ESI will be impractical or unduly burdensome, the Parties will meet

and confer in good faith to attempt to agree on an acceptable format for production

pursuant to Rule 34(b)(2)(E).

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      4.     Modification.       This Protocol may be modified or amended either

by written agreement of the Parties submitted to the Court for approval or by order

of the Court. Any practice or procedure set forth herein may be varied by agreement

of the Parties, which will be confirmed in writing, where such variance is deemed

appropriate to facilitate the proportional, timely, and economical exchange of

Discoverable Information.

      5.     Superseding effect.       This    Protocol       supersedes   any   prior

discussions or agreements of the Parties on the topics contained herein, and to the

extent it is contrary to any such agreements or discussions, the terms of the Protocol

control.

      6.     Materials from Prior Litigation.       To the extent that a party

propounds discovery requests (a “Requesting Party”) upon a Producing Party

seeking the reproduction of documents and/or responsive information which the

Producing Party has previously produced in other litigation(s), a Producing Party is

not obligated to re-run or re-validate those document production sets or responsive

information. Nor is a Producing Party obligated to recollect the documents that

formed the basis for such prior document production(s) for the purpose of obtaining

additional metadata as set forth in Parts III and IV below.

             a.    Should the Requesting Party come forward with a particularized

need for additional metadata information as to a specific document, then the Parties


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will meet and confer to discuss reasonable efforts to locate and recollect such

information. A Requesting Party may make reasonable requests, with which a

Producing Party shall reasonably comply, for the Producing Party to provide an

explanation of the methodology and date ranges used to assemble the prior document

production(s), if known.

             b.    The utilization of prior productions by a Producing Party will not

exempt that party from having to undertake additional and/or supplemental efforts

to produce further documents in order to account for additional electronic search

terms, document custodians, expanded date ranges, etc., that were not taken into

account in assembling and serving the prior productions and relevant information,

about which the Parties shall meet and confer in good faith.

             c.    For the avoidance of doubt, with respect to discovery in this

Action of documents that any Party has previously produced in other litigations, it

is the Parties’ intent that such prior document productions will be reproduced in this

Action in the format in which they have previously been produced, which, for

example, exempts a party from having to convert prior production to the TIFF format

if previously produced in PDF form.

             d.    The Parties agree to meet and confer concerning incorporation of

confidentiality treatment and/or designations assigned to reproduced documents

from prior litigation, and or other appropriate measures where inconsistencies may


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exist between protective orders entered in prior litigation and the stipulated

Protective Order that the Parties intend to file with the Court in this Action

II.   SCOPE & PRESERVATION

      1.       General.    The procedures and Protocols outlined herein govern the

production of Discoverable Information by all Parties to this Action, whether they

currently are involved or become so in the future. The Parties will take reasonable

steps to comply with this agreed-upon Protocol for the production of Discoverable

Information.

      2.       ESI. Shall mean any electronically stored active-user files, including

but not limited to: email; word-processing documents; spreadsheets; electronic slide

presentations; databases; and other reasonably accessible data reasonably

anticipated to be subject to discovery pursuant to the Federal Rules of Civil

Procedure.

      3.       Not Reasonably Accessible ESI.        The    circumstances        of   this

Action do not warrant the preservation, collection, review, production, or

identification on a privilege log of ESI that is not reasonably accessible, unless the

Producing Party believes in good faith that not reasonably accessible ESI is likely to

contain significant relevant information not otherwise available in reasonably

accessible sources. For purposes of this Paragraph, the Parties agree that the

following sources of ESI are not reasonably accessible:


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     a.    Data stored in a backup system for the purpose of system

     recovery or information recovery, including but not limited to: disaster

     recovery backup tapes and media; continuity of operations systems; and

     data or system mirrors or shadows.

     b.    Voicemail recordings.

     c.    Mobile devices and ESI stored on mobile devices, including

     smart phones or tablets.

     d.    Instant Messaging.

     e.    Legacy Data, or any data remaining from systems no longer in

     use that is unintelligible to a and inaccessible by the systems currently

     in use.

     f.    Deleted, erased, or overwritten computer files, whether

     fragmented or whole, which were deleted in the regular course of

     business.

     g.    Online access data such as temporary internet files, history,

     cache, cookies and the like.

     h.    Corrupted data or otherwise inaccessible files that cannot be

     recovered by the systems currently in use.




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             i.    Data stored in Random Access Memory (“RAM”), cache

             memory, or in temporary or cache files, including internet history, web

             browser cache, and cookie files, wherever located.

             j.    Encrypted data/password protected files, where the key or

             password cannot be ascertained absent extraordinary efforts.

             k.    Data stored on printers, photocopiers, scanners, and fax

             machines.

             l.    Data stored as server, system, or network logs.

Nothing in this Protocol prevents any Party from asserting, in accordance with the

Federal Rules of Civil Procedure, that other categories of ESI are not reasonably

accessible within the meaning of Rule 26(b)(2). Likewise, nothing in this Protocol

prevents any Party from asserting, in accordance with the Federal Rules of Civil

Procedure, that one or more of the listed categories of ESI are reasonably accessible

under the specific facts and circumstances related to such ESI or that good cause

exists for discovery on such categories of ESI subject to the limitations of Federal

Rule of Civil Procedure 26(b)(2). The Parties to any dispute or potential dispute

regarding discovery of not reasonably accessible ESI will meet and confer prior to

submitting any such dispute to the Court or Special Master.

      4.     Identification of Collection Sources. The Parties shall disclose: (a) the

identity and/or role of custodians possessing relevant information from whom

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documents will be collected and produced; (b) search methodology and search

terms, if any, to be applied, and use of technology assisted review (“TAR”) or similar

technologies; (c) relevant data sources, including custodial, non-custodial, and third-

party documents; and (d) any applicable and appropriate timeframes for the

collection, review, and production of documents. The parties shall meet and confer

in the event of a dispute regarding any of the items addressed in this section.

      5.     Search Methodology. Subject to the requirements set forth in section

4 above titled “Identification of Collection Sources,” the Parties recognize that

each Party may use one or more search methodologies to collect, review, and

produce relevant and responsive, non-privileged documents and ESI and undertake

reasonable efforts to locate Discovery Information. There are many valid ways to

search for and retrieve ESI, and the Parties agree that absent a showing of specific

need and good cause, the Producing Party is best situated to evaluate the procedures,

methodologies, and technologies appropriate for preserving and producing its own

ESI. Each Producing Party shall design and implement the methods it uses to

identify, cull, and review its potentially responsive ESI based on its knowledge and

understanding of its own data, the facts and issues involved in this Action, and the

discovery requests propounded by a Requesting Party. A Producing Party may apply

reasonable search methodologies to appropriate sources and may also conduct a




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targeted collection of sources likely to contain responsive materials (e.g., file folders

on a given hard drive).

III.   FILTERING ESI

       1.    De-duplication.      With respect to documents or ESI that a Party either

collects or processes from a collection after the date this Order is entered, and

specifically excluding documents or ESI that a party has previously collected and

processed prior to the date this Order is entered, a Producing Party will make

reasonable efforts to de-duplicate identical ESI within its own productions, as

follows. Parties shall meet and confer regarding any de-duplication issues presented

by a Party’s ESI that may require deviation from these de-duplication procedures.

             a.     Electronic documents that are not email. Duplicate non-email

       electronic documents (such as Microsoft Word documents) will be identified

       based upon a commercially accepted method (e.g., MD5 or SHA-1 hash

       values) for binary file content. All electronic documents bearing an identical

       value are a duplicate group. The Producing Party may produce only one

       document image or native file for duplicate SI documents within the

       duplicate group, however, the Producing Party will identify the additional

       custodians for duplicate documents not produced to the extent such

       information can be automatically populated by the processing of the

       documents.


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             b.     Email.    Duplicate email or other messaging files will be

       identified based upon a commercially accepted method (e.g., MD5 hash

       values) generated for the entire email family including: To; From; CC; BCC;

       Body; Message ID; and Attachment Properties. Email families bearing and

       identical value are considered a duplicate group the Producing Party will

       produce only one document image or native file for duplicate ESI documents

       within the duplicate group; However, in the event that email is collected from

       a custodial source that Producing Party will identify each custodian(s) from

       whom the duplicate email was collected, provided that such information can

       be automatically populated with industry standard ESI processing tools.

      2.     Email Threading. With respect to documents or ESI that a Party either

collects or processes from a collection after the date this Order is entered, and

specifically excluding documents or ESI that a Party has previously collected and

processed prior to the date this Order is entered, the Parties will use industry standard

analytic tools to employ “email thread suppression.” As used in this Protocol, email

thread suppression means producing the most inclusive email in a conversation

thread, as well as all emails with attachments within the thread, and excluding emails

constituting duplicate emails within the produced conversation thread. Only email

messages that are included within more complete, produced thread part will be

considered appropriate for exclusion from production. Agreed upon metadata will


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not be produced for email thread parts suppressed under this Paragraph. Suppressed

thread parts need not be reflected on the Producing Party's privilege log. Parties shall

meet and confer regarding any threading issues presented by a Party’s ESI that may

require deviation from these procedures.

      3.     De-NISTing.         ESI   collections   will    be   DeNISTed,   removing

commercially available operating system and application file information contained

on the current NIST file list.

      4.     Zero-byte Files. To the extent practicable, the parties shall filter out

files identified as zero bytes in size and any logo files.

      5.     Embedded Objects. Embedded objects or files such as Excel

spreadsheets, Word documents, or audio and video files, shall be extracted and

searched consistent with its category of ESI. Non-substantive embedded files, such

as MS office embedded images, Email in-line images (logos, etc.), need not be

extracted. All imbedded files produced under this procedure shall be produced

subject to the same requirements set forth in this Protocol. For production purposes,

embedded files shall be identified as attachments to the parent document in which

the file was embedded, and load files for such embedded files shall refer to the parent

document in which the file was embedded.




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IV.   PRODUCTION FORMAT

      1.     TIFF/Native File Format Production. The default production format

for unstructured discoverable ESI will be black-and-white Group IV single-page

TIFF (300 space DPI) with document-level extracted text files or OCR text files (for

redacted records) and a standard delimited .DAT file containing document-level text

files and the agreed upon meta-data fields.

      2.     ESI Will be produced in “last saved” or “last modified” format. If a

color image is produced in black and white, the Receiving Party may request the

Producing Party produce the original color image as a single page, 300 DPI JPEG.

The Parties agree that they shall not unreasonably withhold production of any

document in JPEG format where color is needed for interpretation of that document,

to the extent the source document is reasonably accessible. ESI that is difficult or

impractical to render in TIFF, such as video or audio files, may be produced in its

native form with a placeholder TIFF image stating: “Document Produced Natively.”

ESI maintained in spreadsheets (e.g., Lotus; Microsoft Excel) or presentation

formats (e.g., Microsoft PowerPoint) need only to be produced in native format.

Native files should be produced within incrementally named “NATIVE” directories,

separate from image directories. A Producing Party retains the option to produce ESI

in alternative formats, which may include native format or a combination of native

and alternative formats if it would be burdensome to produce a particular file in


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TIFF. Should the Producing Party elect do so, it will meet and confer with the

receiving party prior to such production.

      3.       Document Text. For documents that were originally created and

stored as electronic files and which do not have redactions, where reasonably

available, the Producing Party will produce the extracted full text (not OCR) from

the body of each document in individual document-level TXT files. OCR text will

be provided for documents without available extracted text (e.g., non-searchable

PDFs). Image cross-reference files will also be produced whether the text is

extracted or OCR. For documents that were originally stored as electronic files and

which have redactions, the OCR text from the redacted images associated with each

document will be produced, in individual document-level text files. “TEXT” folder

directories will group 1,000 document text files each, separate from image

directories.

      4.       Database Production.    Discoverable information that is stored in a

database (e.g., structured data) will be produced in reasonably usable standard report

formats available in the ordinary course of business. Upon review of the report(s),

the Requesting Party may, on a showing of particularize need, request from the

Producing Party additional information to explain any codes, abbreviations, or other

information necessary to ensure the report is reasonably usable. In the event of such




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a request, the Producing Party initially may determine the most reasonable means to

provide the relevant and proportional information requested.

      5.     Numbering/Endorsement. All produced Discoverable Information

will have a unique Control ID assigned, regardless of the format of the Discoverable

Information, and the file produced will be named with a unique Control ID. For

Discoverable Information produced in TIFF image format, each TIFF image will

have a legible, unique page identifier (“Bates Number”) electronically “burned” onto

the image at a location that does not obliterate or obscure any information from the

source document. A Producing Party should use a consistent format for the Bates

Numbers it uses across its productions. Separate folders will not be created for each

document.

                   a.     In the case of materials deemed confidential in accordance

             with any applicable federal, state, or common law, and/or designated as

             such pursuant to the stipulated Protective Order that the Parties intend

             to file with the Court in this Action, governing the production of

             confidential materials in this Action, documents and ESI should be

             marked in accordance with the stipulated Protective Order.

                   b.     The Parties agree to meet and confer if there are any

             disputes regarding the specific details of numbering and endorsement

             format.


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      6.     Scanned Documents & Hard Copies. The Parties agree that paper

documents that contain Discoverable Information may be scanned and produced in

an imaged format set forth in paragraph IV.1 Consistent with Federal Rules of Civil

Procedure 26 and 34, a Producing Party may make hard copy records available to a

Requesting Party for inspection and copying, provided however the Parties shall

meet and confer prior to production being made in this manner, including regarding

whether such hard copy documents may be scanned and produced in electronic form

consistent with this Protocol. In such instances, the Parties shall meet and confer

regarding the time, location, and other considerations with respect to the inspection

and copying.

             a.    When scanning paper documents, the Parties shall undertake

      reasonable efforts to ensure that distinct documents are not merged into a

      single record, and single documents are not split into multiple records (i.e.,

      the party shall attempt to logically unitize scanned hardcopy documents).

             b.    All pages now stapled or fastened together shall be scanned with

      all attachments currently or previously appended to each document, regardless

      of whether such attachments themselves would be independently responsive.

             c.    The Producing Party agrees to produce every copy of a document

      on which there appears to be a notation or marking of any sort not appearing

      on any other copy or any copy containing different attachments from any other


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      copy, provided that such notation is in any way relevant to the subject matter

      of this lawsuit.

      7.    Native Files. The Parties agree that any discoverable information may

be produced in the imaged format set forth in paragraph IV.1. Subsequent to the

production of image formats, however, the Requesting Party may upon a showing

of particularized need, request from a Producing Party that certain imaged files be

produced in native format according to the following Protocol:

            a.     The Requesting Party shall provide a list of Bates numbers of the

            imaged documents sought to be produced in native file format. The

            requesting party also shall provide the reasons for the request.

            b.     The Producing Party shall either produce the native files, or

            object to the demand for any particular file as unreasonable as follows:

                   i.    The Producing Party will respond in writing, setting forth

            its objections to the production of the requested native format files.

                   ii.   The Parties will meet and confer regarding the request and

            corresponding objections, and if the Parties are unable to agree as to the

            production of the requested files in a native format, the party shall

            submit the matter to the Court.

      8.    Encrypted Files. The Producing Party shall take reasonable efforts to

ensure that all encrypted files are decrypted prior to processing and searching, and


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shall produce passwords for any password-protected native files produced to the

extent the passwords are reasonably available.

      9.       Production Media. The Producing Party may produce documents via

a secure file transfer mechanism and/or on readily accessible, computer or electronic

media including CD- ROM; DVD; or external hard drive (with standard PC

compatible interface) (“Production Media”).            All Production Media will be

encrypted prior to production and the Producing Party will provide a decryption key

to the Requesting Party in a communication separate from the production itself.

      10.      Metadata. The Parties agree to produce a load file containing, if

available in the normal course and reasonably practical to do so, the metadata fields

below and to the extent a document is not redacted (separately addressed):

                                                            eDocs & Email
    Field          Data Type            Paper                                          Email
                                                             Attachments
 ProdBeg        Integer – Text   Starting Bates #      Starting Bates #           Starting Bates #
 ProdEnd        Integer – Text   Ending Bates #        Ending Bates #             Ending Bates #
 ProdBegAtta    Integer – Text   Starting Bates # of   Starting Bates # of        Starting Bates #
 ch                              document family       document family            of document
                                                                                  family
 ProdEndAtta    Integer – Text   Ending Bates # of     Ending Bates # of          Ending Bates #
 ch                              document family       document family            of document
                                                                                  family
 Custodian      Text             Name of person the    Name of person the         Name of person
                                 document was          document was collected     the document
                                 collected from        from                       was collected
                                                                                  from
 All            Text             Name of persons       Name of persons from       Name of
 Custodians                      from whom de-         whom de-duplicated         persons from
                                 duplicated document   document was collected     whom de-
                                 was collected and     and de-duplicated          duplicated
                                 de-duplicated         pursuant to terms herein   document was
                                                                                  collected and

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                                                         eDocs & Email
     Field      Data Type               Paper                                       Email
                                                          Attachments
                                 pursuant to terms                             de-duplicated
                                 herein                                        pursuant to
                                                                               terms herein
From          Text – paragraph                                                 Sender of
                                                                               message
To            Text – paragraph                                                 Recipients of
              Separate entries                                                 message
              with “;”
CC            Text – paragraph                                                 Copied
              Separate entries                                                 recipients
              with “;”
BCC           Text – paragraph                                                 Blind copied
              Separate entries                                                 recipients
              with “;”
Subject       Text – paragraph                                                 Subject of
                                                                               message
Date/Time_S Date                                                               Date and Time
ent         (mm/dd/yyyy                                                        message sent
            hh mm:ss)
Date/Time_R Date                                                               Date and Time
cvd         (mm/dd/yyyy                                                        message
            hh:mm:ss)                                                          received
FileName    Text – paragraph                         Name of original file     Name of
                                                     including extension       original file
                                                                               including
                                                                               extension
FileExtensio Text                                    Extension of original     Extension of
n                                                    file                      original file
Date/Time_C Date                                     Date and time file was
reated       (mm/dd/yyyy                             created
             hh:mm:ss)
Date/Time_   Date                                    Last modified date
Modified     (mm/dd/yyyy
             hh:mm:ss)
Sort_Date/Ti Date                                    Date and time taken
me           (mm/dd/yyyy                             from (Email)
             hh:mm:ss)                               Date/Time_Sent,(Email)
                                                     Date/Time_Rcvd or
                                                     (EDocs)
                                                     Date/Time_Modified,
                                                     repeated for parent
                                                     document and all
                                                     children items to allow
                                                     for date sorting

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                                                                    eDocs & Email
    Field              Data Type               Paper                                          Email
                                                                     Attachments
Title                Text – paragraph                          Title from document
                                                               metadata
Author               Text – paragraph                          Document author from
                                                               metadata
Company              Text – paragraph                          Document company or
                                                               organization from
                                                               metadata
Confidentiali        Text               Any confidentiality    Any confidentiality        Any
ty                                      designation asserted   designation asserted on    confidentiality
                                        on the document        the document               designation
                                                                                          asserted on the
                                                                                          document
Hash                 Text                                      MD5 or SHA-1 Hash          MD5 or SHA-1
                                                               Value of document          Hash Value of
                                                                                          document
NativeLink           Text – paragraph                          Path including filename    Path including
                                                               to the associated native   filename to the
                                                               file if produced           associated
                                                               (Relative Path)            searchable text
                                                                                          file (Relative
                                                                                          Path)
TextLink             Text – paragraph   Path including         Path including filename    Path including
                                        filename to the        to the associated          filename to the
                                        associated             searchable text file       associated
                                        searchable text file   (Relative Path)            searchable text
                                        (Relative Path)                                   file (Relative
                                                                                          Path)



                a.          No party has an obligation to create or manually code metadata

                fields that are not automatically generated by the processing of the ESI

                or that do not exist as part of the original metadata of the electronic

                document except for: BegBates; EndBates; BegAttach; EndAttach;

                Confidentiality; and Custodian. Custodians should be identified using

                the convention “Last Name, First Name.”


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             b.     The Parties may rely on the metadata automatically generated by

             the processing of the ESI, and no party has an independent obligation

             to review the metadata of individual files to ensure the metadata’s

             accuracy.

             c.     If a metadata field contains privileged information, that

             privileged information may be redacted and noted in a corresponding

             privilege log.

      11.    Load files. The following load files may be combined to address all

content provided within a single production (i.e., all documents produced on a single

piece of media or through a single file transfer).

             a.     Image Cross-Reference Load File. Provide a comma-delimited

             image load file that contains document boundary reference data, page

             counts, and media volume information.

             b.     Text Cross-Reference Load File. For all TXT files created in

             accordance with paragraph IV.2., provide a comma-delimited load file

             with each document’s beginning Bates Number along with the full path

             to the associated extracted text/OCR text file.

             c.     Native Cross-Reference Load File. For all native files, provide a

             comma-delimited load file with each document’s Bates Number along

             with the full path to the produced native file.


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             d.     Structured ESI Cross-Reference Load File. For all reports

             produced under paragraph I.V.3., provide a comma-delimited load file

             with each document’s Bates Number along with the full path to the

             produced report.

V.    Privilege

      1. No Waiver of Any Privilege Upon Production. The parties have agreed

that, in discovery in this Action, they do not intend to disclose Material subject to a

claim of attorney-client privilege, attorney work product protection, or any other

applicable privileges or protections. “Material” or “Materials,” as used herein, refers

to Documents, Information, or any other tangible material or thing produced in the

Action, including all materials within the scope of Fed. R. Civ. P. 26(b)(1), and all

exhibits, evidence, or testimony used or given at trial, in depositions, or in other

proceedings in the Action and any other means of presenting, producing, or revealing

information. Additionally, as used herein, “Documents” includes all materials

within the scope of Rule 34(a) of the Federal Rules of Civil Procedure, and

“Information” includes all materials within the scope of Documents, exhibits,

evidence or things used at trial, depositions or other proceedings; any testimony,

whether given at trial or a deposition; and any other means of presenting, producing

or revealing information.



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              a.     The production of any privileged or otherwise protected or

           exempted Material, as well as the production of Material without an

           appropriate designation of confidentiality, shall not be deemed a waiver or

           impairment of any claim of privilege or protection, including, but not

           limited to, the attorney-client privilege, the protection afforded to work-

           product materials, or the subject matter thereof, or the confidential nature

           of any such Material, as to the produced Material, or any other Material.

              b.     The production of privileged or work-product protected

           Documents, ESI, or Material, whether inadvertent or otherwise, is not a

           waiver of the privilege or protection from discovery in this Action or in

           any other federal or state proceeding. This Order shall be interpreted to

           provide the maximum protection allowed by Federal Rule of Evidence

           502(d).

              c.     In the event a privileged or work-product protected Documents,

           ESI, or Material has been produced, the Parties shall follow the clawback

           procedure set forth in the Agreed Protective Order.

VI.   Other Issues

      1.      Costs. The cost of preserving, collecting and producing documents

shall be borne by the Producing Party. In the event, however, that a Requesting Party

request ESI, documents, or information that would result in the production of

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cumulative or repetitive discovery that otherwise imposes an undue burden or

expense upon a Producing Party, the Producing Party may object. The Parties shall

work to resolve any such Objection. In the event the Parties are unable to resolve

such an objection, and upon substantiation of that objection in writing by the

Producing Party, the Producing Party may move the Court for an order shifting the

cost of producing such cumulative or repetitive information or information that

otherwise imposes an undue burden or expense to the Requesting Party.

      2.     English Language.          To the extent any document exists in more

than one language, the document shall be produced in English, if available in the

ordinary course of business or in the custodian’s files. If no English version of the

document is available, the Producing Party does not have an obligation to produce

in English translation.

      3.     Agreed Protective Order. The terms of the separate stipulated

confidentiality order governing production and treatment of confidential information

filed with the Court are incorporated herein by reference and also govern all

production pursuant to this Protocol.

      4.     Further Conferral. If any party determines that any of the

requirements in this Protocol impose an undue burden or otherwise propose an issue

with respect to compliance, the party shall meet and confer regarding that issue,

including discussing as appropriate, and alternative process or processes.


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      5.    No Required Disclosure of Privileged Materials. Nothing in this

Protocol shall be interpreted to require disclosure of irrelevant information or

relevant information protected by the attorney-client privilege, work-product

doctrine, or any other applicable privilege or immunity.

      6.    Producing Parties Rights to Review Own Documents. Nothing

contained herein limits a Producing Party’s right to conduct a review of documents,

ESI or information (including metadata) for relevance, responsiveness and/or

segregation of privileged and/or protected information before production.

IT IS SO ORDERED

       June 14, 2022
Date: __________________              _________________________________
                                      UNITED STATES DISTRICT JUDGE


SO STIPULATED, THROUGH COUNSEL OF RECORD

Dated this 13th day of June, 2022.




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